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                          UNITED STATES BANKRUPTCY COURT
                                      SAN JUAN


In re:                                                     Case No. 11-09962-BKT
         VAQUERIA ALMEYDA INC
         RAMON LUIS BARRETO GINORIO
                Debtor(s)


         CHAPTER 12 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       José R. Carrión, chapter 12 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1202(b)(1). The trustee declares as follows:


         1) The case was filed on 11/17/2011.

         2) The plan was confirmed on 12/21/2012.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1229 on
 NA .

         4) The trustee filed action to remedy default by the debtor in performance under the plan on
NA .

         5) The case was dismissed on 05/17/2018.

         6) Number of months from filing to last payment: 78.

         7) Number of months case was pending: 80.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.



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 Receipts:

            Total paid by or on behalf of the debtor           $117,750.00
            Less amount refunded to debtor                       $1,500.00

 NET RECEIPTS:                                                                                 $116,250.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                $9,479.00
     Court Costs                                                              $0.00
     Trustee Expenses & Compensation                                     $10,958.24
     Other                                                                    $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                               $20,437.24

 Attorney fees paid and disclosed by debtor:                  $1,521.00


 Scheduled Creditors:
 Creditor                                        Claim         Claim          Claim        Principal     Int.
 Name                                Class     Scheduled      Asserted       Allowed         Paid        Paid
 BANCO BILBAO VIZCAYA             Secured         85,668.00          0.00      77,880.00          0.00      0.00
 CONDADO 5 LLC                    Secured        184,976.99          0.00     183,866.13          0.00      0.00
 CONDADO 5 LLC                    Secured        207,245.00          0.00     204,448.67          0.00      0.00
 CONDADO 5 LLC                    Secured      1,041,586.26          0.00   1,028,238.28          0.00      0.00
 DEPARTMENT OF TREASURY           Unsecured             NA           0.00       1,847.70          0.00      0.00
 DEPARTMENT OF TREASURY           Priority              NA           0.00       4,002.14          0.00      0.00
 DEUTSCHE BANK NATIONAL TRUS      Secured               NA            NA      149,266.75          0.00      0.00
 DEUTSCHE BANK NATIONAL TRUS      Secured               NA           0.00      42,874.92     42,874.92      0.00
 INTERNAL REVENUE SERVICE         Priority         8,591.00          0.00      13,951.09          0.00      0.00
 INTERNAL REVENUE SERVICE         Unsecured             NA           0.00       6,831.59          0.00      0.00
 INTERNAL REVENUE SERVICE         Priority              NA           0.00      10,871.59          0.00      0.00
 INTERNAL REVENUE SERVICE         Secured          3,333.00          0.00      11,498.42      7,515.04      0.00
 INTERNAL REVENUE SERVICE         Secured               NA           0.00      19,007.51     12,422.80      0.00
 INTERNAL REVENUE SERVICE         Unsecured          400.00          0.00       1,606.94          0.00      0.00
 PAN AMERICAN GRAIN               Secured         95,000.00           NA      118,804.72          0.00      0.00
 PAN AMERICAN GRAIN               Secured         95,000.00          0.00      33,000.00     33,000.00      0.00
 STATE INSURANCE FUND CORP        Priority         6,606.32          0.00       6,547.47          0.00      0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                  $75,874.92         $75,874.92              $0.00
       Mortgage Arrearage                                     $0.00              $0.00              $0.00
       Debt Secured by Vehicle                                $0.00              $0.00              $0.00
       All Other Secured                              $1,793,010.48         $19,937.84              $0.00
 TOTAL SECURED:                                       $1,868,885.40         $95,812.76              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00                $0.00            $0.00
        Domestic Support Ongoing                              $0.00                $0.00            $0.00
        All Other Priority                               $35,372.29                $0.00            $0.00
 TOTAL PRIORITY:                                         $35,372.29                $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                             $10,286.23                $0.00            $0.00

 Disbursements:

         Expenses of Administration                            $20,437.24
         Disbursements to Creditors                            $95,812.76

 TOTAL DISBURSEMENTS :                                                                     $116,250.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: 07/25/2018
                                              By:/s/ José R. Carrión
                                                                         Trustee
STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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